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                Exhibit 2
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Schuetta, Angela (USAAZ) [Contractor]

From:                              Stone, Andrew (USAAZ)
Sent:                              Thursday, February 28, 2019 1:57 PM
To:                                Schuetta, Angela (USAAZ) [Contractor]
Cc:                                Kucera, John (USACAC)
Subject:                           RE: Brunst Real Property


Can you add those two emails to the existing emails on Exhibit 2? I think we should file a complete exhibit.

Thanks

From: Schuetta, Angela (USAAZ) [Contractor] <ASchuetta@usa.doj.gov>
Sent: Thursday, February 28, 2019 1:49 PM
To: Stone, Andrew (USAAZ) <AStone1@usa.doj.gov>
Cc: Kucera, John (USACAC) <jkucera@usa.doj.gov>
Subject: RE: Brunst Real Property

I tried taking out the blank page 3, but it would not save properly.




From: Stone, Andrew (USAAZ) <AStone1@usa.doj.gov>
Sent: Thursday, February 28, 2019 1:28 PM
To: Schuetta, Angela (USAAZ) [Contractor] <ASchuetta@usa.doj.gov>
Cc: Kucera, John (USACAC) <jkucera@usa.doj.gov>
Subject: FW: Brunst Real Property

Angela,

Can you add the two emails listed below (Gary’s from Aug. 23 and John’s response from the same date) and add them to
Exhibit 2? That’s what we should file with our notice of errata.

After you’ve finished, you can just send the exhibit to John and I for review.

Thanks,
Andy

From: Kucera, John (USACAC) <John.Kucera@usdoj.gov>
Sent: Thursday, August 23, 2018 9:47 AM
To: Gary S. Lincenberg <gsl@birdmarella.com>; Ariel A. Neuman <aan@birdmarella.com>
Cc: Gopi K. Panchapakesan <gkp@birdmarella.com>; Rapp, Kevin (USAAZ) <Kevin.Rapp@usdoj.gov>
Subject: RE: Brunst Real Property


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Gary,

I’ll discuss with my colleagues and get back to you ASAP.

Thanks,
John

____________________
John Kucera | AUSA
(213) 894-3391


From: Gary S. Lincenberg <glincenberg@birdmarella.com>
Sent: Thursday, August 23, 2018 9:40 AM
To: Kucera, John (USACAC) <jkucera@usa.doj.gov>; Ariel A. Neuman <aneuman@birdmarella.com>
Cc: Gopi K. Panchapakesan <gpanchapakesan@birdmarella.com>; Rapp, Kevin (USAAZ) <KRapp@usa.doj.gov>
Subject: RE: Brunst Real Property

John,

I am writing to advise that a sales contract was signed yesterday for Mr. Brunst’s Del Media property for $1.925M. I am
guessing that net proceeds will be ~$1.815m.

The only contingency is inspection, which should be done in about 15 days. Closing is set for Oct 22. The buyer is an
unknown, arm’s length person/trust named Esser Family Trust. Obviously if you contact Esser there is a risk of scaring
them off, so please use your discretion in checking them out. Please confirm that you have no objection with our going
forward with this sale.

Thank you,

Gary S. Lincenberg | Principal
O: 310.201.2100, Ext. 224 | E: glincenberg@birdmarella.com

Bird, Marella, Boxer, Wolpert, Nessim,
Drooks, Lincenberg & Rhow, P.C.
1875 Century Park East, 23rd Floor
Los Angeles, California 90067-2561
BirdMarella.com




From: Gary S. Lincenberg
Sent: Wednesday, August 8, 2018 8:32 PM
To: 'Kucera, John (USACAC)' <John.Kucera@usdoj.gov>; Ariel A. Neuman <aan@birdmarella.com>
Cc: Gopi K. Panchapakesan <gkp@birdmarella.com>; Rapp, Kevin (USAAZ) <Kevin.Rapp@usdoj.gov>
Subject: RE: Brunst Real Property

John,

Your proposal is accepted. Thank you for your professional courtesy in dealing with this issue.


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Sincerely,

Gary S. Lincenberg | Principal
O: 310.201.2100, Ext. 224 | E: glincenberg@birdmarella.com

Bird, Marella, Boxer, Wolpert, Nessim,
Drooks, Lincenberg & Rhow, P.C.
1875 Century Park East, 23rd Floor
Los Angeles, California 90067-2561
BirdMarella.com




From: Kucera, John (USACAC) <John.Kucera@usdoj.gov>
Sent: Wednesday, August 8, 2018 1:25 PM
To: Ariel A. Neuman <aan@birdmarella.com>; Gary S. Lincenberg <gsl@birdmarella.com>
Cc: Gopi K. Panchapakesan <gkp@birdmarella.com>; Rapp, Kevin (USAAZ) <Kevin.Rapp@usdoj.gov>
Subject: Brunst Real Property

Gary and Ariel,

Regarding your client’s real property located at 5830 E. Calle Del Media, Phoenix, AZ, the
government will agree to recognize the full amount of your recorded lien on condition that the
government be allowed to approve the sale of the property (which approval will not be
unreasonably withheld) and any proceeds in excess of your recorded lean will then be deposited
into a government account to be treated as substitute res in the criminal forfeiture
proceeding. Please let us know your position.

Thank you,
John

____________________
John Kucera | AUSA
(213) 894-3391




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